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AO 245C (Rev. 06/05) Amended Judgment in a Criminal Case: Sheet 1                           #11151


                                        United States District Court
                                          SOUTHERN DISTRICT OF ALABAMA
          UNITED STATES OF AMERICA                                       AMENDED JUDGMENT IN A CRIMINAL CASE
V.
          MAURICE COLE
        Full Name: Maurice Roberto Cole                                  CASE NUMBER: 1:10-00187-003
Date of Original Judgment: December 22, 2011                             USM NUMBER: 11764-003

(or date of Last Amended Judgment)                                       Robert Ratliff
                                                                         Defendant's Attorney
Reason for Amendment:
     Correction of Sentence on Remand (F.R.Crim.P.35(a))                  Modification of Imposed Term of Imprisonment for
                                                                               Extraordinary and Compelling Reasons (18:3582(c)(1))
X Reduction of Sentence for Changed Circumstances
       (F.R.Crim.P.35(b))                                                 Modification of Imposed Term of Imprisonment for
                                                                               Retroactive Amendment(s) to the Sent. Guide. (18:3582(c)(2))
     Correction of Sentence by Sentencing Court (F.R.Crim.P.35(a))
                                                                          Direct Motion to District Court Pursuant to
     Correction of Sentence for Clerical Mistake (F.R.Crim.P.36)                   28 U.S.C. §2255 or
                                                                                   18 U.S.C. § 3559(c)(7)
     Modification of Supervision Conditions (18:3563(c) or 3583(e))
                                                                          Modification of Restitution Order (18 U.S.C. § 3664)

THE DEFENDANT:
X      pleaded guilty to count(s) 1 of the Indictment on 10/21/2010 .
       pleaded nolo contendere to count(s)       which was accepted by the court.
       was found guilty on count(s)      after a plea of not guilty.
The defendant is adjudicated guilty of the following offenses:
                                                                                Date Offense                     Count
Title & Section                Nature of Offense                                Concluded                        No.(s)
21 USC 846                     Conspiracy To Possess With Intent                June 15, 2010                      1
                               To Distribute Cocaine and Cocaine
                               Base

      The defendant is sentenced as provided in pages 2 through 4                      of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s)     .
      Count(s) is/are dismissed on the motion of the United States.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and the United States attorney of any material change in the
defendant's economic circumstances.

                                                                          June 28, 2013
                                                                         Date of Imposition of Judgment

                                                                          s/Kristi K. DuBose
                                                                         UNITED STATES DISTRICT JUDGE

                                                                          July 1, 2013
                                                                         Date
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                                                                                                       Judgment 2
AO 245C (Rev. 06/05) Amended Judgment in a Criminal Case: Sheet 2 - Imprisonment
Defendant: MAURICE COLE, Full Name: Maurice Roberto Cole
Case Number: 1:10-00187-003

                                              IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of TIME SERVED (5 DAYS) .

                Special Conditions:

                The court makes the following recommendations to the Bureau of Prisons:

        The defendant is remanded to the custody of the United States Marshal.

        The defendant shall surrender to the United States Marshal for this district:
               at       a.m./p.m. on      .
               as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
        Prisons:
               before 2 p.m. on        .
                 as notified by the United States Marshal.
                 as notified by the Probation or Pretrial Services Office.

                                                      RETURN

I have executed this judgment as follows:
_____________________________________________________________________________________
_____________________________________________________________________________________
_____________________________________________________________________________________

Defendant delivered on                          to                             at _________________________
with a certified copy of this judgment.

                                                                             UNITED STATES MARSHAL


                                                                         By _____________________________
                                                                                Deputy U.S. Marshal
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                                                                                                                 Judgment 3
AO 245C (Rev. 06/05) Amended Judgment in a Criminal Case: Sheet 3 - Supervised Release
Defendant: MAURICE COLE, Full Name: Maurice Roberto Cole
Case Number: 1:10-00187-003
                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of FOUR (4)
YEARS .

X Special Conditions: the defendant shall participate in a program of testing and treatment for drug and/or
alcohol abuse, as directed by the Probation Office; and, the defendant shall continue to participate in Gambler's
Anonymous, twice per week, as directed by the Probation Office.



        For offenses committed on or after September 13, 1994: The defendant shall refrain from any
        unlawful use of a controlled substance. The defendant shall submit to one drug test within 15
        days of release from imprisonment and at least two periodic drug tests thereafter, as directed by
        the probation officer.
                       The above drug testing condition is suspended based on the court’s determination that the
                defendant poses a low risk of future substance abuse. (Check, if applicable)

        The defendant shall register with the state sex offender registration agency in the state where the defendant
        resides, works, or is a student, as directed by the probation officer. (Check, if applicable)

        The defendant shall participate in an approved program for domestic violence. (Check, if applicable)

X       The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the
defendant pay any such fine or restitution that remains unpaid at the commencement of the term of supervised
release in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this
judgment. The defendant shall report to the probation office in the district to which the defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
The defendant shall comply with the standard conditions that have been adopted by this court (Probation
Form 7a).
The defendant shall also comply with the additional conditions on the attached page (if applicable).


                                   See Page 4 for the
                        "STANDARD CONDITIONS OF SUPERVISION"
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                                                                                                                     Judgment 4
AO 245C (Rev. 06/05) Amended Judgment in a Criminal Case: Sheet 3 - Supervised Release
Defendant: MAURICE COLE, Full Name: Maurice Roberto Cole
Case Number: 1:10-00187-003
                                        SUPERVISED RELEASE
                          STANDARD CONDITIONS OF SUPERVISION
1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer in a manner and frequency directed by the court
        or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the
        probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling,
        training, or other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
        administer any controlled substance or any paraphernalia related to any controlled substances, except as
        prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
        administered;

9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any
        person convicted of a felony unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall
        permit confiscation of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a
        law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement
        agency without the permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
        defendant's criminal record or personal history or characteristics, and shall permit the probation officer to
        make such notifications and to confirm the defendant's compliance with such notification requirement;

14) the defendant shall cooperate, as directed by the probation officer, in the collection of DNA, if applicable, under
        the provisions of 18 U.S.C. §§ 3563(a)(9) and 3583(d) for those defendants convicted of qualifying offenses.
